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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


FEDERAL TRADE COMMISSION and
COMMONWEALTH OF PENNSYLVANIA,
            Plaintiffs,

       v.
                                                      Civil Action No. 2:20-cv-01113

THOMAS JEFFERSON UNIVERSITY and
ALBERT EINSTEIN HEALTHCARE
NETWORK,
             Defendants.


                  DEFENDANT THOMAS JEFFERSON UNIVERSITY’S
                    MOTION TO SEAL CONFIDENTIAL EXHIBITS

       Pursuant to Federal Rules of Civil Procedure 5.2 and Local Rules of Civil Procedure 5.1.5

and 7.1, Defendant Thomas Jefferson University (“Jefferson”) respectfully moves this Court for

an order that certain portions of documents that may be presented during the preliminary injunction

hearing or in the parties’ proposed findings of fact and conclusions of law be sealed with

protections necessary to prevent from public disclosure the contents of these documents.



  Dated: September 8, 2020                           Respectfully Submitted,


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